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FILED
UNITED STATES DISTRICT COURT _
MIDDLE DISTRICT OF FLORIDA 2023 MAR - 1) P12: 34
JACKSONVILLE DIVISIC'N CLERK. US DISTRICT cc
MIDDLE DISTRICT OF FL
UNITED STATES OF AMERICA JACKSONVILLE FLORIDA
v. CASE NO. 3:23-cr-36- HES-3BT
18 U.S.C. § 922(g)(1)
LENWELL WATTS 21 U.S.C. § 841(a)(1)
INDICTMENT
The Grand Jury charges:
COUNT ONE

On or about June 14, 2022, in the Middle District of Florida, the defendant,
LENWELL WATTS,
knowing he had previously been convicted in any court of a crime punishable by
imprisonment for a term exceeding one year, including the following offenses
committed on occasions different from one another:
1. Sale of Cocaine, on or about May 25, 2004;

2. Sale of Schedule II Substance (Hydromorphone), on or about July 20,
2017;

3. Sale of Hydromorphone, on or about July 20, 2017; and

4. Sale of Schedule II Substance (Hydromorphone), on or about July 20,
2017;

did knowingly possess, in and affecting interstate and foreign commerce, a firearm,
that is, a Matrix Aerospace Corporation M556-SC 5.56mm/.223 caliber pistol.

In violation of 18 U.S.C. §§ 922(g)(1) and 924(e).
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COUNT TWO

On or about June 14, 2022, in the Middle District of Florida, and elsewhere,

the defendant,
LENWELL WATTS,

did knowingly possess with intent to distribute a controlled substance, which
violation involved a mixture and substance containing a detectable amount of
cocaine, a Schedule II controlled substance, and a mixture and substance containing
a detectable amount of marihuana, a Schedule I controlled substance, and is
therefore punished under 21 U.S.C. §§ 841(b)(1)(C) and 841(b)(1)(D).

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 841(b)(1)(D).

FORFEITURE

1. The allegations contained in Counts One and Two of this indictment
are incorporated by reference for the purpose of alleging forfeiture under 18 U.S.C.
§ 924(d), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853.

2. Upon conviction of a violation of 18 U.S.C. § 922(g)(1), the defendant,
LENWELL WATTS, shall forfeit to the United States, pursuant to 18 U.S.C.
§ 924(d) and 28 U.S.C. § 2461(c), any firearms and ammunition involved in the
commission of the offense.

3. Upon conviction of a violation of 21 U.S.C. § 841(a)(1), the defendant,
LENWELL WATTS, shall forfeit to the United States, pursuant to 21 U.S.C. §

853(a)(1) and (2), any property constituting, or derived from, any proceeds the
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defendant obtained, directly or indirectly, as a result of such violation, and any
property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violation.

4, The property to be forfeited includes, but is not limited to, a Matrix
Aerospace Corporation M556-SC 5.56mm/.223 caliber pistol and 23 rounds of .223

caliber ammunition.

5. If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty,
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the United States of America shall be entitled to forfeiture or substitute property
pursuant to 21 U.S.C. § 853(p), and 21 U.S.C. § 854(p), as incorporated by 28 U.S.C.

§ 2461(c).

A TRUE BILL,

ROGER B. HANDBERG
United States Attorney

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David B. Mesrobian
Assistant United States Attorney

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By: ot Clee

Frank Talbot
Assistant United States Attorney
Chief, Jacksonville Division

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FORM OBD-34
2/23/23 Revised No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Jacksonville Division

THE UNITED STATES OF AMERICA
Vs.

LENWELL WATTS

INDICTMENT

Violations: Ct. 1: 18 U.S.C. §§ 922(g)(1) and 924(e)
Ct. 2: 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 841(b)(1)(D)

A true bill,

Filed in open court this [st day

of March, 2023.

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Clerk

Bail $

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